                              UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF NORTH CAROLINA
                                  CHARLOTTE DIVISION
                             DOCKET NO. 3:15-cr-00213-MOC-DSC

 UNITED STATES OF AMERICA,                               )
                                                         )
                                                         )
                                                         )
 Vs.                                                     )               ORDER
                                                         )
 THOMAS SNIFFEN                                          )
                                                         )
                           Defendant.                    )


       THIS MATTER is before the Court on defendant Thomas Sniffen’s Motion to Enlarge

Motions Deadlines (contained in #142). Having considered defendant Thomas Sniffen’s motion

and reviewed the pleadings, the Court enters the following Order.

                                          ORDER

       IT IS, THEREFORE, ORDERED that defendant Thomas Sniffen’s Motion to Enlarge

Motions Deadlines (#142) is GRANTED, and such deadline is enlarged up to and including

February 16, 2018.




 Signed: January 3, 2018




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